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                         Exhibit 10
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                                                                         9
  1   Chris Goodnow.      I'm going to be starting off the

  2   questioning here on this side of the table.

  3             Could you state and spell your name for the

  4   record, please?

  5       A.    My name is Brad Bender.        It's B-R-A-D

  6     B-E-N-D-E-R.

  7       Q.    Thank you.

  8             Do you recall you were deposed by the

  9   Department of Justice on October 16, 2020?

10        A.    That sounds right.

11        Q.    What was that deposition about?

12        A.    It would have been whatever claims the

13    Department of Justice had at the time.           But to be

14    honest, I don't remember specifics.

15        Q.    Was it regarding claims addressing Google's

16    advertising technology practices?

17        A.    That sounds right.

18        Q.    Do you understand the Department of Justice

19    has sued Google regarding its digital advertising

20    technology?

21        A.    I heard that.

22        Q.    Did you read the Department of Justice's

23    complaint?

24        A.    No.

25        Q.    Do you understand the State of Texas since
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                                                                        19
  1   referred to as GDN?

  2       A.    That's correct.

  3       Q.    Is GDN a buyer on ad exchanges?

  4             MR. JUSTUS:     Objection.     Form.

  5             THE WITNESS:     During my tenure, GDN did act

  6   as a buyer on multiple exchanges.

  7   BY MR. GOODNOW:

  8       Q.    What is an ad exchange?

  9       A.    An ad exchange is a marketplace where

10    buyers and sellers can transact impressions.

11        Q.    What's an impression?

12        A.    An impression is an ad slot that exists on

13    a publisher or content creator's digital presence.

14        Q.    Are those ad slots also referred to as ad

15    inventory?

16        A.    That's largely interchangeable, yeah.

17        Q.    And you were the lead product manager for

18    GDN?

19        A.    I was.

20        Q.    You were responsible for the business

21    strategy for GDN?

22        A.    I -- I worked on the strategy with a team

23    of colleagues.

24        Q.    How many colleagues?

25        A.    There were -- it would have been a handful.
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                                                                        20
  1         Q.      Did those colleagues work for you?

  2         A.      Some did and some were peers.

  3         Q.      Was there anyone senior to you in that

  4     group of colleagues?

  5         A.      I would have recommended the strategy with

  6     that peer set, and ultimately decisions were made at

  7     more senior levels to me in the organization.

  8         Q.      So if we turn to this page 420 and we go up

  9     a little bit, you see the date range April 2015 to

10      November 2019?

11          A.      I do.

12          Q.      You were promoted to a vice president level

13      position?

14          A.      Was that a question?

15          Q.      Yes.

16                  Were you promoted to a vice president level

17      position?

18          A.      Yes.     Yes, I was.

19          Q.      If we look right under the bolded text

20      there, you wrote that you were responsible for

21      leading the product management efforts globally for

22      the following businesses and product efforts at

23      Google?

24          A.      That's correct.

25          Q.      And those bullet points identify the


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                                                                          21
  1     business and product efforts that are referenced in

  2     that sentence?

  3         A.      Yes.

  4         Q.      The first bullet point says:           "Display and

  5     Video Ads:        Google Display Ads, Google Video

  6     partners and Gmail Ads."

  7                 You see that?

  8         A.      I do.

  9         Q.      Does Google display ads refer to the Google

10      Display Network?

11          A.      Yes.

12          Q.      Does it refer to anything other than the

13      Google Display Network?

14          A.      Not that I can recall.

15          Q.      Who are the Google video partners?

16          A.      So similarly to our Display Network where

17      we talked about impressions being display ad slots

18      on publisher content creator sites, there were also

19      video publishers or content creators who had

20      inventory available to be sold.

21                  And insofar as that was being represented

22      to buyers through the AdWords interface, I was, at

23      some point between 2015 and 2019, additionally

24      responsible for that as well.

25          Q.      Do you recall at which point?


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                                                                        22
  1         A.      I -- I believe it was around 2018.

  2         Q.      And if we go to the second bullet point

  3     there, you see Google Ad Manager listed?

  4         A.      I do.

  5         Q.      You were responsible for leading the

  6     product management efforts globally for Google Ad

  7     Manager?

  8         A.      By -- by the end of my tenure, yes.

  9         Q.      When about?

10          A.      I took on responsibility for Google Ad

11      Manager around 2018 as well.

12          Q.      What is Google Ad Manager?

13          A.      Google Ad Manager is the sell-side platform

14      that is a technology used by publishers to sell

15      their ad inventory.

16          Q.      The next bullet point says:            "Buy-side

17      platforms," and it lists Display & Video 360.

18                  Do you see that?

19          A.      I do.

20          Q.      Also referred to as DV360?

21          A.      That's correct.

22          Q.      What is DV360?

23          A.      DV360 is a tool created by Google that

24      enabled agencies, advertisers, and marketers to

25      manage their cross-exchange campaigns as well as


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                                                                        23
  1     Campaign Manager, which would have been how they

  2     would manage reserved campaigns.

  3         Q.      Does DV360 buy inventory on the Google

  4     Display Network?

  5         A.      Not -- I'm not sure I understand your

  6     question.

  7         Q.      What's confusing about my question?

  8         A.      The Google Display Network is a buy-side

  9     tool used to help marketers and advertisers reach

10      their goals across inventory pools.

11          Q.      So DV360 and the Google Display Network are

12      separate buy-side tools?

13          A.      That's -- that's correct.

14          Q.      If we go to the bottom bullet point here,

15      you see where it starts off "in addition"?

16          A.      I do.

17          Q.      Do you see there's a reference there to

18      client meetings?

19          A.      I do.

20          Q.      Does that include meetings with publishers?

21          A.      It may have.

22          Q.      How often would you meet with publishers?

23          A.      It -- I don't -- I don't recall specifics.

24      I wouldn't have been meeting with publishers until I

25      was responsible for the sell side, so probably from


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                                                                         24
  1     2018.

  2                 But my engagements with clients took a

  3     number of forms.             It could have been me speaking at

  4     an event or sitting on a panel all the way through,

  5     potentially, to individual meetings.

  6         Q.      When in 2018 did you take responsibility

  7     for the sell side?

  8                 MR. JUSTUS:         Objection.        Form.

  9                 THE WITNESS:         I don't -- I don't recall.

10      BY MR. GOODNOW:

11          Q.      First half of the year or second half of

12      the year?

13                  MR. JUSTUS:         Same objection.

14                  You can answer.

15                  THE WITNESS:         I think it was first half.

16      BY MR. GOODNOW:

17          Q.      So between the first half of 2018 and

18      November of 2019, did you meet with publishers?

19          A.      I may have.

20          Q.      How many times?

21                  MR. JUSTUS:         Objection.        Form.

22                  THE WITNESS:         And I don't recall.

23      BY MR. GOODNOW:

24          Q.      More than 50?

25                  MR. JUSTUS:         Objection.        Form.


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                                                                            25
  1                 THE WITNESS:      Can you -- can you restate

  2     the question?

  3     BY MR. GOODNOW:

  4         Q.      Between the first half of 2018 and November

  5     of 2019, did you meet with publishers more than 50

  6     times?

  7                 MR. JUSTUS:      Objection.        Form.

  8                 THE WITNESS:      Individually?

  9     BY MR. GOODNOW:

 10         Q.      In any way.

 11                 MR. JUSTUS:      Same objection.

 12                 THE WITNESS:      Possibly.        I just don't

 13     recall.

 14     BY MR. GOODNOW:

 15         Q.      Okay.     You met with advertisers as well

 16     during April 2015 to November 2019?

 17         A.      I would have.

 18         Q.      Hundreds of times?

 19         A.      I just don't -- I don't recall.            I couldn't

 20     give you even an estimate.

 21         Q.      Do you see in the middle there there's a

 22     quote from AdExchanger?

 23         A.      I do.

 24         Q.      What is AdExchanger?

 25         A.      AdExchanger is a publication that covers


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                                                                       212
  1              THE VIDEOGRAPHER:      The time is 5:13 p.m.

  2    Pacific time.      We're back on the record.

  3              MR. MAYA:    Thank you.

  4    BY MR. MAYA:

  5        Q.    So we were talking a little earlier about

  6    the move to a first-price auction from second-price

  7    auction.

  8        A.    Right.

  9        Q.    Do you recall the term "reserve price

 10    optimization" or RPO?

 11        A.    No.

 12        Q.    You don't have a recollection of that?

 13        A.    No.

 14        Q.    And I don't mean to limit it to the context

 15    of a move to a first-price auction.          Just generally.

 16    Reserve --

 17        A.    No.   The term doesn't ring a bell.

 18        Q.    Okay.    Well, I guess I won't have to waste

 19    a lot of time asking about it, then.

 20              Let me ask you, did you use chats much when

 21    you were employed at Google?

 22        A.    On occasion.

 23        Q.    Do you ever recall -- do you recall the

 24    function that you could toggle to save chats versus

 25    letting them not be saved?
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  1         A.      I believe there was a toggle.

  2         Q.      Do you recall how the toggle was set on

  3     your chat interface?

  4         A.      I would have left it at whatever the

  5     default was.

  6         Q.      Do you recall ever changing that toggle?

  7         A.      No.

  8         Q.      Do you recall receiving instructions on

  9     when to toggle that on so as to save chats versus

 10     leaving it off?

 11         A.      I don't recall.

 12         Q.      And we were talking earlier about Bernanke

 13     a bit.

 14         A.      Right.

 15         Q.      Do you recall something called "Project

 16     Bell"?

 17         A.      Nope.

 18                 MR. MAYA:        Let's go ahead and introduce

 19     Exhibit 15.

 20                 THE WITNESS:        Thank you.

 21                 MR. MAYA:        And I'll -- Exhibit 15, for the

 22     record, bears Bates numbers GOOG-DOJ-03901693.                  It

 23     ends with the Bates numbers 1713.

 24                 It's a PowerPoint deck.              I'm going to refer

 25     to it as -- called:            "First Call Signal and GDN


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  1              DECLARATION UNDER PENALTY OF PERJURY

  2

  3               I hereby declare under penalty of perjury

  4    that the foregoing is my deposition under oath; that

  5    I have read same; and that I have made the

  6    corrections, additions, or changes to my answers

  7    that I deem necessary.

  8

  9               In witness thereof, I hereby subscribe my

 10    name this          day of                , 2024.

 11

 12

 13

 14

 15                          ________________________
                                   BRAD BENDER
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